         Case 23-05593-JJG-7A                       Doc 106           Filed 05/19/24              EOD 05/20/24 00:13:43                       Pg 1 of 4
                                                              United States Bankruptcy Court
                                                               Southern District of Indiana
In re:                                                                                                                 Case No. 23-05593-RLM
Rodney Grubbs                                                                                                          Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0756-1                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: May 17, 2024                                               Form ID: SF00200                                                          Total Noticed: 48
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 19, 2024:
Recip ID                   Recipient Name and Address
db                     +   Rodney Grubbs, 316 East 11th Street, Brookville, IN 47012-1012
cr                     +   Betsy Underhill, 52 Riversville Rd, Greenwich, CT 06831-3661
cr                     +   Carol Capion, 2563 Brassica Dr., North Port, FL 34289-3110
cr                     +   Connie Coene, 3217 - 9th St, Moline, IL 61265-7111
cr                         David Coene, 3217 - 9th St, Moline, IL 61265-7111
cr                    +    Douglas Jameson, 15 Pinewood Loop, Monument, CO 80132-8889
cr                    +    Douglas Smook, 5305 W. Sourwood Pl, Sioux Falls, SD 57107-0318
cr                    +    Elison Mcallaster, 3 Mainsail Crossing, Savannah, GA 31411-2723
cr                    +    Ella K Gallagher, 1708 Johns Road, Middletown, OH 45044-6729
cr                   ++    JOSEPH BISCHOFF, 14065 SWIFT RD, BROOKVILLE IN 47012-9749 address filed with court:, Joseph Bischoff, 14065 Swift Rd,
                           Brookville, IN 47012
cr                         Judith Mahuron, 714 Idllewood Drive, Connersville, IN 47331-3281
cr                     +   Marjorie J. Scheiwe, 15 Pinewood Loop, Monument, CO 80132-8889
cr                     +   Paul Richards, 3110 Reeds lake Blvd SE, Grand Rapids, MI 49506-2445
cr                     +   Phil Piche, 10339 Apple Tree Ct., Aurora, IN 47001-9611
cr                     +   Richard Mcallaster, 3 Mainsail Crossing, Savannah, GA 31411-2723
cr                     +   Robert Ruetz, 1 Beechmont Pl, Harrison, OH 45030-2812
cr                     +   Teri Schnarr, 133 Lafayette Pt, Apt 11, Crossville, TN 38558-7572
cr                     +   Thomas E Gallagher, 1708 Johns Road, Middletown, OH 45044-6729
16915521               +   Alex/Amy Potapoff, 15703 west Amelia Drive, Goodyear, AZ 85395-8763
16908048               +   Blaine Ruhbusch & Roberta Ernest, 5753 Hwy 85N Lot 5805, Crestview, FL 32536-9365
16833811                   Bryan Enterline, 3580 N. Bay Road, Angola, IN 46703
16912555               +   Carolyn R Bagley, 7750 E Broadway Rd Lot 73, Mesa, AZ 85208-1333
16904886                   Chris Cooke and/or James Cooke, 2351 N. Williamson Blvd., Apt - 9102, Daytona Beach, FL 32117-5903
16833738               +   Craig Black, 3352 Drysdale Court, Edwardsville, IL 62025-3217
16912031               +   Doug Jameson, 15 Pinewood Loop, Monument, CO 80132-8889
16834625               +   Elaine L Brogden, 126 Mountain Creek Pass, Georgetown, TX 78633-5399
16833835               +   George Gross, 29 Persimmon, Boerne, TX 78006-6153
16841954               +   Gerald Bischoff and Tracy Lynn Bischoff, c/o Steven C. Coffaro, 1 East 4th Street, Suite 1400, Cincinnati, OH 45202-3708
16834099               +   Howard Weisbart, 3731 Provenance, Northbrook, IL 60062-5070
16833890               +   Jacqueline Kitzinger, 4917 Deer Ridge Drive S., Carmel, IN 46033-8913
16867939               +   Justin and Meryl Masterson, 14676 Geist Ridge Dr., Fishers, IN 46040-9022
16833891               +   Kirk Kitzinger, 4917 Deer Ridge Drive S., Carmel, IN 46033-8913
16834048               +   Leslie D. Self, 300 Worthington Drive, Trussville, AL 35173-1053
16912115               +   Marge Scheiwe, 15 Pinewood Loop, Monument, CA 80132-8889
16867940               +   Matthew J. Rumpsa, 2686 Navy Hill Circle, The Villages, FL 32163-3069
16916064               +   Rick Witsken, 10655 E 200 S, Zionsville, IN 46077-8852
16833996               +   The Ronald Ponder Living Trust, Ronald Clint Ponder Jr Trustee, 11395 E. State Highway 9, Norman, OK 73026-8222
16908127               +   Thomas & Ella K. Gallagher, 1708 Johns Road, Middletown, OH 45044-6729

TOTAL: 38

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
cr                         Email/Text: dschnarr82@gmail.com
                                                                                        May 17 2024 21:02:00      Dale F Schnarr, 133 Lafayette Pt, Apt 11,
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District/off: 0756-1                                              User: admin                                                               Page 2 of 3
Date Rcvd: May 17, 2024                                           Form ID: SF00200                                                        Total Noticed: 48
                                                                                                              Crossville, TN 38558
cr                       Email/Text: bischoff4jt@frontier.com
                                                                                   May 17 2024 21:02:00       Joseph Bischoff, 14065 Swift Rd, Brookville, IN
                                                                                                              47012
cr                    + Email/Text: ohare.randy@gmail.com
                                                                                   May 17 2024 21:02:00       Randall OHare, 3605 Dartmouth Ave, Dallas, TX
                                                                                                              75205-3238
16907366                 Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                                   May 17 2024 21:08:56       Advanta Bank Corporation, Resurgent Capital
                                                                                                              Services, PO Box 10368, Greenville, SC
                                                                                                              29603-0368
16831024              + Email/Text: jorleidy@bittyadvance.com
                                                                                   May 17 2024 21:02:00       Bitty Advance 2, LLC, 1855 Griffin Road Suite
                                                                                                              A-474, Dania Beach, FL 33004-2241
16908254                 Email/Text: mrdiscen@discover.com
                                                                                   May 17 2024 21:02:00       Discover Bank, Discover Products Inc, PO Box
                                                                                                              3025, New Albany, OH 43054-3025
16834077                 Email/Text: fredt@alddfw.com
                                                                                   May 17 2024 21:02:00       Fred Thompson, 12121 Glenbrook Street, Denton,
                                                                                                              TX 76207
16834066              + Email/Text: gsundrup@gmail.com
                                                                                   May 17 2024 21:02:00       George J. Sundrup, 9840 Kittywood Drive,
                                                                                                              Cincinnati, OH 45252-2100
16833924                 Email/Text: laymonwalden@gmail.com
                                                                                   May 17 2024 21:02:00       Lynn Laymon, 17200 West Bell Road - #1334,
                                                                                                              Surprise, AZ 85374
16913038                 Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                                   May 17 2024 21:08:42       MERRICK BANK, Resurgent Capital Services,
                                                                                                              PO Box 10368, Greenville, SC 29603-0368
16912176                 Email/Text: bkyelectnotices@trelliscompany.org
                                                                                   May 17 2024 21:02:00       TGSLC DBA TRELLIS COMPANY, PO BOX
                                                                                                              83100, ROUND ROCK, TX 78683-3100

TOTAL: 11


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 19, 2024                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 17, 2024 at the address(es) listed below:
Name                             Email Address
Damaris D Rosich-Schwartz
                                 on behalf of U.S. Trustee U.S. Trustee damaris.d.rosich-schwartz@usdoj.gov

James O'Connor
                                 on behalf of Creditor Zack Grubbs jjo@barrettlaw.com

James O'Connor
                                 on behalf of Creditor Abby Grubbs jjo@barrettlaw.com
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District/off: 0756-1                                        User: admin                                                           Page 3 of 3
Date Rcvd: May 17, 2024                                     Form ID: SF00200                                                    Total Noticed: 48
James O'Connor
                          on behalf of Creditor Amy Grubbs jjo@barrettlaw.com

James O'Connor
                          on behalf of Creditor Josh Grubbs jjo@barrettlaw.com

James D. Johnson
                          on behalf of Creditor Justin Masterson jdjohnson@jacksonkelly.com abigail.luckett@jacksonkelly.com

James D. Johnson
                          on behalf of Creditor Meryl Masterson jdjohnson@jacksonkelly.com abigail.luckett@jacksonkelly.com

Joanne B. Friedmeyer
                          trustee@friedmeyerlaw.com jbf@trustesolutions.net

Joseph L. Mulvey
                          on behalf of Trustee Joanne B. Friedmeyer joseph@mulveylawllc.com linda@mulveylawllc.com

Matthew W. Foster
                          on behalf of Petitioning Creditor Jack Handy efiling@fosterlaw.llc mfoster@isdh.in.gov

Matthew W. Foster
                          on behalf of Petitioning Creditor Melody Woodsum efiling@fosterlaw.llc mfoster@isdh.in.gov

Matthew W. Foster
                          on behalf of Petitioning Creditor Greg Hilligoss efiling@fosterlaw.llc mfoster@isdh.in.gov

Matthew W. Foster
                          on behalf of Petitioning Creditor Eldonna Coats efiling@fosterlaw.llc mfoster@isdh.in.gov

Matthew W. Foster
                          on behalf of Petitioning Creditor Branch Lew efiling@fosterlaw.llc mfoster@isdh.in.gov

Matthew W. Foster
                          on behalf of Petitioning Creditor Jennifer Butler efiling@fosterlaw.llc mfoster@isdh.in.gov

Matthew W. Foster
                          on behalf of Petitioning Creditor Andrew Evans efiling@fosterlaw.llc mfoster@isdh.in.gov

Richard Wayne Greeson
                          on behalf of Creditor Richard Wayne Greeson wgreeson@greesonlaw.com
                          courtdocs@greesonlaw.com;r54890@notify.bestcase.com

Richard Wayne Greeson
                          on behalf of Creditor Sharon Bryant wgreeson@greesonlaw.com courtdocs@greesonlaw.com;r54890@notify.bestcase.com

Richard Wayne Greeson
                          on behalf of Creditor Terry Bryant wgreeson@greesonlaw.com courtdocs@greesonlaw.com;r54890@notify.bestcase.com

Richard Wayne Greeson
                          on behalf of Creditor Robert William Zitnick wgreeson@greesonlaw.com
                          courtdocs@greesonlaw.com;r54890@notify.bestcase.com

Richard Wayne Greeson
                          on behalf of Creditor Chris Ann Greeson wgreeson@greesonlaw.com courtdocs@greesonlaw.com;r54890@notify.bestcase.com

Richard Wayne Greeson
                          on behalf of Creditor Robyn Zitnick wgreeson@greesonlaw.com courtdocs@greesonlaw.com;r54890@notify.bestcase.com

Steven Charles Coffaro
                          on behalf of Creditor Gerald Bischoff steve.coffaro@kmklaw.com

Steven Charles Coffaro
                          on behalf of Creditor Tracy Lynn Bischoff steve.coffaro@kmklaw.com

U.S. Trustee
                          ustpregion10.in.ecf@usdoj.gov


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                          UNITED STATES BANKRUPTCY COURT                 SF00200 (rev 11/2020)
                                Southern District of Indiana
                                   46 E Ohio St Rm 116
                                  Indianapolis, IN 46204
In re:

Rodney Grubbs,                                        Case No. 23−05593−RLM−7A
           Debtor.

                                    NOTICE OF HEARING

An Objection to Notice of Possible Assets was filed on May 16, 2024, by Creditor Judith
Mahuron. The Court, after reviewing this document, determines that a hearing is
required.

NOTICE IS GIVEN that a hearing will be held as follows:

         Date: May 29, 2024
         Time: 11:00 AM Eastern
         Place: US Courthouse
                46 E Ohio St Rm 310
                Indianapolis, IN 46204

Motions for continuance must be filed no later than 7 days prior to the hearing. Motions
for continuance filed less than 7 days prior to the hearing will be granted only upon a
showing of good cause. Every motion for continuance must indicate whether opposing
counsel objects to the continuance or what efforts were made to contact opposing
counsel regarding the request for continuance.

Any referenced document can be found at pacer.insb.uscourts.gov or may be requested
from the filing party.

Dated: May 17, 2024                           Eric R. Kleis
                                              Clerk, U.S. Bankruptcy Court
